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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

   SECURITIES AND EXCHANGE
   COMMISSION,
                                                               21 Civ. 5350 (PKC)
                               Plaintiff,

                   -against-

   RICHARD XIA, a/k/a YI XIA; and
   FLEET NEW YORK METROPOLITAN
   REGIONAL CENTER, LLC, f/k/a FEDERAL
   NEW YORK METROPOLITAN REGIONAL
   CENTER, LLC;

                               Defendants,

                   -and-

   JULIA YUE, a/k/a JIQING YUE,

                               Relief Defendant.



          LIMITED APPLICATION RELATING SOLELY TO BANK ACCOUNT
          REFERENCED IN MONITOR’S FIRST INTERIM FEE APPLICATION

        M. Scott Peeler, the duly appointed Monitor in this action (the “Monitor”), in accordance

 with Paragraph 31 of the Order Appointing Monitor signed on September 27, 2021 (the “Monitor

 Order”), hereby submits this Application (“Limited Application”) in furtherance of the pending

 Motion for Approval of First Interim Fee Application (“Application”), solely for the purposes of

 identifying a different bank account from which the requested fees will be paid.

        1.      In the Application, I identified the HSBC bank account, the Grand Eastern Mirage

 Group LLC, ending in 0708 (“HSBC Account”), as the account from which the requested fees

 should be paid.



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        2.      I subsequently learned that the HSBC Account may not have sufficient funds to

 satisfy this purpose.

        3.      It is my understanding that the CTBC account, Eastern Emerald Group LLC, ending

 in 0808 (“CTBC account”), has sufficient funds with which to pay an award on the First Interim

 Fee Applications.

        4.      I therefore request that the Proposed Order submitted with the Application be

 amended to substitute the CTBC account for the HSBC account, or that the Court issue the Revised

 Proposed Order submitted together with this Limited Application.

        WHEREFORE, the Monitor respectfully requests that the Court:

        1. Amend the Proposed Order submitted with the Application to substitute the CTBC
           Account for the HSBC Account, or sign the Revised Proposed Order submitted with
           this Limited Application, and direct that the CTBC Account be unfrozen to the extent
           required to fund the Fee Total, including the holdback amount.

        2. Grant such other relief as the Court deems appropriate.


  Dated: December 27, 2021                          Respectfully submitted,

                                                    ARENT FOX LLP



                                                    By: s/M. Scott Peeler
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                                                       Court Appointed Monitor




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